Case 2:24-cv-00074-APG-NJK Document 55-2 ~ ~Filed 05/16/25 Page 1 of 2

TABLE OF CONTENTS

EXHIBITS A THROUGH W ATTACHED TO LVMPD DEFENDANTS’ MOTION
FOR SUMMARY JUDGMENT

LVMPD, ET AL. ADV. ESTATE OF ISAIAH WILLIAMS
CASE NO. 2:24-CV-00074-APG-NJK

EXHIBIT DESCRIPTION

Plaintiff Latia Alexander Deposition
Defendant Lt. Melanie O’Daniel Deposition
Defendant Sgt. James Backman Deposition
Non-Party Sgt. Garth Findley Deposition
Defendant Ofc. Kerry Kubla Deposition
Defendant Ofc. Brice Clements Deposition

Defendant Ofc. Alex Gonzales Deposition

zr a7 mM UYU Aa we p>

Defendant Ofc. James Bertuccini Deposition

—

Defendant Ofc. James Rothenburg Deposition

—

January 7, 2022 Search Warrant

December 31, 2021 Search Warrant

LVMPD SWAT Manual (2021)

SWAT Incident Action Plan

Photo of Stun Stick

LVMPD’s Stun Stick Training PowerPoint

Deposition of LVMPD SWAT Rule 30(b)(6) (Lt. Adrian Beas)

Body Worn Camera Videos

Defendant Police Practices Expert Witness Spencer Fomby Deposition
Plaintiff Police Practices Expert Witness Gregory Gilbertson

Photo of Ofc. Rothenburg’s ballistic shield

acqyHuH 4©wPF7FH TO ZETA

LVMPD Force Investigative Team Report

MAC: 14687-428 (#5866778.1)
Case 2:24-cv-00074-APG-NJK Document 55-2 Filed 05/16/25 Page 2 of 2

Vv Deposition of LVMPD Critical Incident Review Process Rule 30(b)(6)
witness (Deputy Chief Reggie Rader)

W Deposition of LVMPD Critical Incident Review Team Rule 30(b)(6)
witness (Detective Justin Roth)

MAC: 14687-428 (#5866778. 1)
